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                                        Attorneys for Plaintiff,
                                        Marilee Hall
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                                   15                       UNITED STATES DISTRICT COURT
                                                          SOUTHERN DISTRICT OF CALIFORNIA
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                                        MARILEE HALL,                           Case No.: 15-cv-2047 JM (DHB)
                                   17   INDIVIDUALLY AND ON
                                        BEHALF OF ALL OTHERS                    NOTICE OF SETTLEMENT
                                   18   SIMILARLY SITUATED,
                                                                                HON. JEFFREY T. MILLER
                                   19
                                                     Plaintiff,
                                   20
                                                         v.
                                   21
                                   22   REAL TIME RESOLUTIONS,
                                        INC.,
                                   23
                                                     Defendant.
                                   24
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                                   26   ///
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                                        NOTICE OF SETTLEMENT
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                                    1         NOTICE IS HEREBY GIVEN that the dispute between Plaintiff
                                    2   MARILEE HALL (“Plaintiff”) and Defendant REAL TIME RESOLUTIONS,
                                    3   INC. (“Defendant”) has been resolved on an individual basis. The Parties
                                    4   anticipate filing a Joint Motion for Dismissal of this Action with Prejudice as to
                                    5   Plaintiff and without Prejudice as to the putative class members within 60 days.
                                    6   Plaintiff requests that all pending dates and filing requirements be vacated and that
                                    7   the Court set a deadline on or after April 19, 2016 for filing a Joint Dismissal.
                                    8
                                        Dated: February 19, 2016                                     Respectfully submitted,
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                                                                                            KAZEROUNI LAW GROUP, APC
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                                                                                        By: ____/s/ Matthew M. Loker___
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                                                                                                 MATTHEW M. LOKER, ESQ.
                                   14                                                              ATTORNEY FOR PLAINTIFF
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                                        NOTICE OF SETTLEMENT                                                   PAGE 1 OF 1
